Case 6:20-cv-01424-JDC-PJH Document 34 Filed 05/12/21 Page 1 of 1 PageID #: 443




                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF LOUISIANA
                          LAFAYETTE DIVISION


 KRISPY KRUNCHY FOODS L L C                   CASE NO. 6:20-CV-01424 LEAD

 VERSUS                                       JUDGE JAMES D. CAIN, JR.

 JENNA MARKETING L L C                        MAGISTRATE JUDGE PATRICK
                                              J. HANNA


                                   JUDGMENT

       Now before the Court is the motion to transfer filed by defendant Jenna

 Marketing, LLC. (Rec. Doc. 19).      This matter was referred to United States

 Magistrate Judge Patrick J. Hanna for report and recommendation. After an

 independent review of the record, and noting the absence of objections filed, this

 Court concludes that the Magistrate Judge’s report and recommendation is correct

 and adopts the findings and conclusions therein as its own. Accordingly,

       IT IS ORDERED, ADJUDGED, AND DECREED that, consistent with the

 report and recommendation, the motion to transfer now before the Court (Rec. Doc.

 19) is DENIED.

       THUS DONE AND SIGNED in Chambers on this 11th day of May, 2021.



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                             JAMES D. CAIN, JR.
                     UNITED STATES DISTRICT JUDGE
